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                           IN THE UNITED STATES DISTRICT COURT                                                     7L719
                            FOR THE WESTERN DISTRICT OF TEXAS
                                                                                                 iSLJ.S                 lC
                                      WACO DIVISION

A.J. RABE, INC.,                                          §
                                                          §
                 Plaintiff,                               §
                                                          §
v.                                                        §      CASE NO. 6:18-CV-00116-ADA-JCM
                                                          §
FARM SERVICE AGENCY, UNITED                               §
STATES     DEPARTMENT     OF                              §
AGRICULTURE,    and NATIONAL                              §
APPEALS DIVISION,                                         §
                                                          §
                 Defendants.                              §

                              REPORT AND RECOMMENDATION
                         OF THE UNITED STATES MAGISTRATE JUDGE

TO:       THE HONORABLE ALAN D ALBRIGHT
          UNITED STATES DISTRICT JUDGE

          This Report and Recommendation is submitted to the Court pursuant to 28                           U.s.c.


§    636(b)(1)(C),   FED. R. CIV. P.   72(b), and Rules 1(f) and 4(b) of Appendix C of the Local Rules

of the United States District Court for the Western District of Texas, Local Rules for the

Assignment of Duties to United States Magistrate Judges. Before the Court are Defendants'

Motion to Dismiss, or in the Alternative, Motion for Summary Judgment, Defs.' Mot. Dismiss,

ECF No. 35, and Plaintiff's Response in Opposition to the Motion to Dismiss, or in the Alternative,

Motion for Summary Judgment, Pl.'s Dismiss Resp., ECF No. 36.1 For the reasons below, the




'Defendants filed a Motion for Summary Judgment in response to Plaintiff's Original Complaint. Defs.' Mot. Summ.
J., ECF No. 24. This Court later ordered Plaintiff to file an amended complaint after hiring counsel. Ct. Order, ECF
No. 30. After Plaintiff filed its amended complaint, Defendants filed their Motion to Dismiss, or in the Alternative,
Motion for Summary Judgment, and the Court ordered Defendants' Motion for Summary Judgment moot. Defs.' Mot.
Dismiss, ECF No. 35. Plaintiff subsequently responded to the Motion to Dismiss. Pl.'s Dismiss Resp., ECF No. 36.
The Court reviewed and considered all filed responses and replies in this determination.

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undersigned RECOMMENDS Defendants' Motion to Dismiss, or in the Alternative, Motion for

Summary Judgment be GRANTED.

                                               I.
                                      INTRODUCTION

       Plaintiff A.J. Rabe, Inc. is a corporation organized under the laws of Texas. Pl.'s Am.

Compl. at 2, ECF No. 34. Arvell J. Rabe is Plaintiffs president and Janice Jeanette Rabe-Hall is

Plaintiffs secretary. Id. Plaintiff applied for a Farm Service Agency ("FSA") Operating Loan on

July 15, 2016. Id. After reviewing Plaintiffs application, a loan manager for the FSA called Mr.

Rabe on August 17, 2016 and informed him the loan application would be denied due to lack

of creditworthiness. Id. In particular, Plaintiffs application revealed numerous judgments and

debts against it and its members. Administrative Record at 000751-52. Though the loan manager

offered Mr. Rabe a meeting to discuss the denial, he declined and continued to discuss the denial

over the phone. Pl.'s Am. Compl. at 2.

       Following the denial, Mr. Rabe requested and received a meeting with the FSA District

Director on August 29, 2016 for reconsideration. Pl.'s Am. Compl. at 3. During this meeting Mr.

Rabe attributed several adverse credit issues to factors outside Plaintiffs control. Id. The FSA

denied the application again on reconsideration for lack of creditworthiness, though the District

Director acknowledged several credit issues were outside Plaintiffs control. A.R. at 000005-08.

Plaintiff appealed to the National Appeals Division ("NAD") of the United States Department of

Agriculture, but Administrative Law Judge David Hoveskeland upheld the FSA's decision on

December 14, 2016. A.R. at 000113. On April 17, 2017, the NAD conducted a Director Review

of the appeal and upheld the Administrative Law Judge's decision. A.R. at 000179.

       Plaintiff filed the present case on April 17, 2018. Pl.'s Original Compl. at   1,   ECF No.   1.


Plaintiff alleges denial of the application was "arbitrary, capricious, an abuse of discretion, or

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otherwise not in accordance with law" under            5   U.S.C.     §   706(2)(A) due to the presence of credit

issues outside Plaintiff's control. Pl.'s Am. Compi. at 5. Plaintiff also alleges Defendants violated

FSA procedure by failing to hold an in-person meeting to discuss the credit issues before denial,

and thus prejudiced the outcome of the loan decision. Pl.'s Dismiss Resp. at 2-3. Plaintiff requests

"the Court review, vacate, and reverse the agency decisions," "issue orders approving the loan

applications," and award "such other relief to which Plaintiff is justly entitled." P1.' s Am. Compl.

at 5.    Defendants move to dismiss or, in the alternative, for summary judgment on all of

Plaintiff's claims. Defs.' Mot. Dismiss at        1.


                                                   II.
                                              RELEVANT LAW

         A motion to dismiss, or in the alternative, for summary judgment may be treated as a

motion for summary judgment when the court considers materials outside of the pleadings.

Young v. Biggers, 938 F.2d 565, 568 (5th Cir. 1991). When the court reviews agency actions,

"summary judgment thus serves as the mechanism for deciding, as a matter of law, whether the

agency action is supported by the administrative record and otherwise consistent with the

[Administrative Procedure Act] standard of review." Redeemed Christian Church of God v. US.

Citizenship & Immigration Servs., 331 F. Supp. 3d 684, 694 (S.D. Tex. 2018) (quoting Stuttering

Found. ofAm.    v.   Springer, 498 F. Supp. 2d 203, 207 (D.D.C. 2007)) (quotation marks omitted).

         Judicial review of a final decision by the NAD pursuant to               5   U.S.C.    §    701 et seq. is limited

to whether the challenged action was arbitrary, capricious, an abuse of discretion, or otherwise not

in accordance with the law.      5   U.S.C.   §   706(2)(A); City of Shoreacres            v.       Waterworth, 420 F.3d

440, 445 (5th Cir. 2005). "The entire case on review is a question of law[,]" not a question of fact.

Redeemed Christian Church ofGod, 331 F. Supp. 3d at 694 (quoting Bioscience, Inc.                           v.   Thompson,

269 F.3d 1077, 1083 (D.C. Cir. 2001)) (quotation marks omitted). An agency's role is to make


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factual determinations supported by the administrative record while a court's role "is to determine

whether or not as a matter of law the evidence in the administrative record permitted the agency

to make the decision it did." Id. (quoting Stuttering Found, of Am., 498 F. Supp. 2d at 207)

(quotation marks omitted).

          Courts will not disturb an agency decision absent plain error:

          [b]alancing intangibles is an administrative responsibility par excellence.
          Reviewing courts should not attempt to second-guess the performance of this task,
          for they can do little to improve it. Unless the agency commits a logical error or
          overlooks evidence contrary to its result, its judgment will not be rejected.

N   Am. Telecomms.      Ass'n v. FCC., 772 F.2d 1282, 1289 (7th Cir. 1985) (Posner, J.). A court's

review of an agency ruling is "highly deferential' to an agency's interpretation of its

own regulations." Kinder Canal Co., Inc.      v.   Johanns, 493 F.3d 543, 547 (5th Cir. 2007) (quoting

Spiller   v.   White, 352 F.3d 235, 240 (5th Cir. 2003)). The court is limited to the narrow duty        of

holding the agency to "certain minimal standards of rationality." Shoreacres, 420 F.3d at 445

(quoting Avoyelles Sportsmen's League, Inc.           v.   Marsh, 715 F.2d 897, 905 (5th Cir. 1983))

(quotation marks omitted). The court limits its review to whether the agency relied on the proper

legal standards and based its decision upon substantial evidence. State         of La.   ex rel. Guste   v.


Verity, 853 F.2d 322, 327 (5th Cir. 1988)     ("[hf the agency considers the factors and articulates a

rational relationship between the facts found and the choice made, its decision is not

arbitrary or capricious")

          "Procedural perfection in administrative proceedings is not required. This court will not

vacate a judgment unless the substantial rights of a party have been affected." Mays           v.   Bowen,

837 F.2d 1362, 1364 (5th Cir. 1988). Even if some of the reasoning underlying a decision is

erroneous, the ruling will be upheld if the error did not affect the ultimate result. Quails v. Astrue,

339 F. App'x 461, 464 (5th Cir. 2009). Procedural improprieties "constitute a basis for remand


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only if such improprieties would cast into doubt the existence of substantial evidence to support"

the decision. Morris v. Bowen, 864 F.2d 333, 335 (5th Cir. 1988).

        In the absence of a reversible procedural violation, the court will uphold the agency's

decision if based on substantial evidencemore than a scintilla, but less than a preponderance.

Anthony v. Sullivan, 954 F.2d 289, 295 (5th Cir. 1992). This means the decision must be based on

enough relevant evidence a reasonable mind would accept as adequate to support the decision.

Jones v. Heckler, 702 F.2d 616, 620 (5th Cir. 1983). The scope of review is limited to the record

and the court will not conduct de novo evidentiary review, make credibility determinations, or re-

weigh the evidence. Leggett       v.   Chater, 67 F.3d 558, 564 (5th Cir. 1995).

                                                        III.
                                                  ANALYSIS

        Defendants move to dismiss or, in the alternative, for summary judgment on all of

Plaintiff's claims. Defs.' Mot. Dismiss at        1.   The motion may be treated as a motion for summary

judgment as the administrative record was submitted with the               motion.2    Young, 938 F.2d at 568.

First, Defendants argue the FSA's decision to deny Plaintiff an operating loan was supported by

substantial evidencespecifically, Plaintiff and Mr. Rabe' s history of failure to repay debts.

Id. at 7. Second, Defendants argue procedural errors made in this process, if any, were harmless

and do not affect the outcome. Id. at 10. Plaintiff responds Defendants violated FSA procedure

by failing to conduct a meeting with Plaintiff's representatives before the loan decision.

P1.'s Dismiss Resp. at 8-9. Plaintiff also argues the errors were not harmless. Id. at 12-14.




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  On the Motion to Dismiss, Defendants argue Plaintiff's complaint should be dismissed because Plaintiff requested
relief not available from this Court. Defs.' Mot. Dismiss at 1. A complaint should not be dismissed because the
plaintiff requested the incorrect remedy. Smith v. Winter, 782 F.2d 508, 513 (5th Cir. 1986). If this Court conducted
a dismissal analysis, the complaint would not be dismissed solely due to Plaintiffs request for an
improper remedy. Id.


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       The FSA's decision to deny Plaintiff an operating loan is supported by substantial evidence

throughout the administrative record. To qualify for an operating loan, an applicant must have

acceptable credit history as demonstrated by debt repayment.               7 C.F.R.     §   764.101(d).

Applicants with a history of failure to repay past debts as they came due when the ability to repay

was within their control demonstrate unacceptable credit history. 7 C .F.R.         §   764.101 (d)(3).

Unpaid debts may not indicate a lack of creditworthiness "when the applicant can satisfactorily

demonstrate that the adverse action or delinquency was caused by circumstances that were of a

temporary nature and beyond the applicant's control." 7 C.F.R.    §   764.101(d)(3)(iv).

       The FSA and the NAD determined Plaintiff has a history of failure to repay debts as they

came due and thus denied the operating loan. A.R. at 000006, 0004 14-16. Plaintiff asserts the

presence of adverse credit issues out of its control should invalidate the FSA and NAD' s decisions

Pl.'s Dismiss Resp. at 11. Yet all FSA and NAD determinations related the loan denial directly to

the numerous judgments and debts in Plaintiff and Mr. Rabe' s credit histories, some of which were

found to be in Plaintifrs control. A.R. at 000006, 000111-12, 000185, 000751. The agency must

only establish it "consider[ed] the factors and articulate[ed} a rational relationship between the

facts found and the choice made" to show its decision was not arbitrary or capricious. Verity, 853

F.2d at 327. The FSA articulated this relationship, stating "the fact that there have been multiple

judgments filed against the applicant and a member of the entity become an issue in that it creates

a pattern of nonpayment of debt." A.R. at 000006. Specifically, Plaintiff's credit history revealed

judgments, a federal tax lien, and unpaid debts. A.R. at 000747. This included a judgment to

Knoxville Livestock still owed at the time of the loan application, which the FSA found to be

"clearly within the control of the applicant." A.R. at 000006. Though Plaintiff argues a genuine

issue of material fact exists as to whether Mr. Rabe was given an opportunity to explain these



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issues, all reviewing parties acknowledged there were adverse credit issues both within and outside

of Plaintiff's control. A.R. at 000006, 000111, 000185. Therefore, Plaintiff failed to establish the

FSA's determination was arbitrary or capricious because the agency decisions were rationally

related to factual evidence.

       Turning to whether the FSA complied with agency procedure, the FSA made no procedural

error in denying Plaintiffs loan application without an in-person meeting. Even if an agency

properly weighs the evidence, it may err by not complying with its own procedures. Mays, 837

F.2d at 1364. A procedural error is reversible if it affects the claimant's substantial rights by

changing the outcome of the decision. Id. However, the error is harmless if its presence does not

affect the agency's decision. Quails, 339 F. App'x at 464. Generally, courts defer to an agency's

interpretation of its own regulations. Belt   v.   EmCare, Inc., 444 F.3d 403, 408 (5th Cir. 2006).

Agency     handbooks    are    authoritative sources on       an   agency's interpretation      of its

own regulations. Id. at 415.

        Here, the FSA Handbook required the agency to meet with the applicant to discuss whether

any adverse account statuses in the applicant's credit history were caused by circumstances beyond

the applicant's control. FSA Handbook 3-FLP, Paragraph 65D. Plaintiff argues this provision

requires an in-person meeting, and the FSA's failure to meet with Mr. Rabe in person constituted

a harmful procedural error ultimately affecting the FSA' s determination. P1.' s Dismiss Resp. at 13.

However, the FSA offered Plaintiff an in-person meeting, yet Mr. Rabe chose to continue their

discussion of the credit issues over the phone. A.R. at 000750. Further, the FSA handbook does

not state whether the meeting must be in person:

         When an applicant's credit history includes an adverse or delinquent account status,
         the authorized agency official shall meet with the applicant to discuss the
         questionable account. The objectives of the meeting are to gather information to
         determine whether the adverse account status was caused by circumstances beyond

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        the applicant's control and to explain FSA creditworthiness requirements to the
        applicant. . . . The meeting shall be documented in FBP.

FSA Handbook 3-FLP, Paragraph 65D. Under this Court's limited duty of review, deference must

be given to the agency's interpretation of its own handbook. Belt, 444 F.3d at 415. On appeal, the

phone meeting was found to follow procedure. A.R. at 000112. On Director Review, the NAD

found the phone meeting fulfilled the Handbook's meeting requirement.              A.R. at 000185-86.

While the meeting requirement lacks further agency interpretation beyond the administrative

record, the requirement appears satisfied by the documented phone conversation. A.R. at 000112.

Plaintiff argues it is reasonable for Mr. Rabe to believe the meeting should have taken place before

the loan decision, and thus an issue of fact exists. P1.'s Dismiss Resp. at 8. However, this Court's

role   is   only   to   review this   decision,   rather   than   re-weigh    evidence        or   make

credibility determinations. Leggett, 67 F.3 d at 564. The reasonableness of Mr. Rabe' s belief has

no effect on the Court's review of the agency decision.

        Even if conducting a phone meeting was found to be an error, the presence of a harmless

error precludes setting aside the FSA's decision. Quails, 339 F. App'x at 464. The decision likely

would not have changed had Mr. Rabe met in person to discuss the credit history instead of

discussing it over the phone, as the outcome of Plaintiff's loan eligibility remained the same after

all reviews and the appeal. Pl.'s Am. Compi. at 3-4. Therefore, the FSA did not commit a harmful

error in conducting the phone meeting.

        Plaintiff further argues the case at bar is analogous to US. Steel Corp.   v.   US. Envtl. Prot.

Agency, 595 F.2d 207 (5th Cir. 1979) on the issue of prejudicial error. Pl.'s Dismiss Resp. at 11.

In US. Steel, the Environmental Protection Agency ("EPA") failed to follow notice-comment rule-

making according to the Administrative Procedure Act ("APA"), and the court found this to be a

prejudicial error. US. Steel, 595 F.2d at 215. Plaintiff argues the EPA's provision of a comment


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period after the rule's promulgation, in violation of the APA, mirrors Defendants failing to meet

in-person with Plaintiff before the loan denial. P1.' s Dismiss Resp. at 12. Yet Plaintiff is not

arguing Defendants failed to follow APA procedure for rule-making, and thus reliance on US.

Steel does not support Plaintiff's position. Pl.'s Dismiss Resp. at 12.

        Additionally, Plaintiff argues all points of contention with the agency detennination are

"genuine issues of material fact," and thus this Court cannot rule on summary                             judgment.3


Pl.'s Dismiss Resp. at 8-12. However, case review of an agency decision is a question of law.

Redeemed Christian Church of God, 331 F. Supp. 3d at 694. This Court's role is to determine

whether the evidence in the administrative record supports the agency's decision as a matter of law.

Id. Again, this Court may not re-weigh evidence or make factual determinations. Leggett, 67 F.3d

at 564. Thus, Plaintiff's reliance on this argument is misplaced.

        Upon this Court's review, the agencies' decisions to deny the loan and uphold the denial

were not arbitrary or capricious. Both the FSA and the NAD rationally related factual evidence of

Plaintiff's credit history to their findings of Plaintiff's lack of creditworthiness. Verity, 853 F.2d

at 327. The phone meeting conducted between Mr. Rabe and the loan manager satisfied the FSA

handbook meeting requirement and thus did not violate agency procedure. Belt, 444 F.3d at 415.

Further, even if the phone meeting constituted a procedural error, the error is harmless as it did not

prejudice the outcome of Plaintiff's loan eligibility. Quails, 339 F. App'x at 464.




 Plaintiff argues the following are "genuine issues of material fact:" (1) whether Plaintiff was offered a meeting before
the loan denial; (2) whether Mr. Rabe knew he was declining an in-person meeting during the phone conversation; (3)
whether the FSA' s decision was arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with the
law; (4) whether failing to conduct an in-person meeting constitutes error; and (5) whether the error is prejudicial to
the loan decision outcome. Pl.'s Dismiss Resp. at 8-12.

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                                               Iv.
                                    RECOMMENDATION

       Accordingly, the undersigned RECOMMENDS Defendants' Motion to Dismiss, or in the

Alternative, Motion for Summary Judgment be GRANTED.

       The parties may wish to file objections to this Report and Recommendation. A party filing

objections must specifically identify those findings or recommendations to which objections

are made.   The District Court need not consider frivolous, conclusory, or general objections.

Battle v. US. Parole Comm 'n, 834 F.2d 419, 421 (5th Cir. 1987).

       A party's failure to file wriften objections to the proposed findings and recommendations

contained in this Report within fourteen (14) days after the party is served with a copy of the

Report shall bar that party from de novo review by the District Court of the proposed findings and

recommendations in the Report and, except upon grounds of plain error, shall bar the party from

appellate review of unobjected-to proposed factual findings and legal conclusions accepted by the

District Court.   28 U.S.C. § 636(b)(1)(C); Thomas        v.   Am, 474 U.S. 140, 150-53 (1985);

Douglass v. United Servs. Auto. Ass'n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

       SIGNED     thith day of June, 2019.



                                                STATES MAGISTRATE JUDGE




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